

Matter of Attorneys in Violation of Judiciary Law § 468-a (Yamamoto) (2023 NY Slip Op 06306)





Matter of Attorneys in Violation of Judiciary Law § 468-a (Yamamoto)


2023 NY Slip Op 06306


Decided on December 7, 2023


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered:December 7, 2023

PM-274-23
[*1]In the Matter of Attorneys in Violation of Judiciary Law § 468-a. Attorney Grievance Committee for the Third Judicial Department, Petitioner; Kazuto Yamamoto, Respondent. (Attorney Registration No. 4695631.)

Calendar Date:November 13, 2023

Before:Egan Jr., J.P., Lynch, Reynolds Fitzgerald, Ceresia and Mackey, JJ., concur. 

Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany (Alison M. Coan of counsel), for Attorney Grievance Committee for the Third Judicial Department.
Whittingham Law, New York City (Kaylin L. Whittingham of counsel), for respondent.



Motion by respondent for an order reinstating him to the practice of law following his suspension by May 2019 order of this Court (Matter of Attorneys in Violation of Judiciary Law § 468-a, 172 AD3d 1706, 1760 [3d Dept 2019]; see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16; Rules of App Div, 3d Dept [22 NYCRR] § 806.16).
Upon reading respondent's notice of motion and affidavit with exhibits filed October 3, 2023 and the November 9, 2023 responsive correspondence from the Attorney Grievance Committee for the Third Judicial Department, and having determined, by clear and convincing evidence, that (1) respondent has satisfied the requirements of Rules of the Appellate Division, Third Department (22 NYCRR) § 806.16 (c) (5), (2) respondent has complied with the order of suspension and the rules of this Court, (3) respondent has the requisite character and fitness to practice law, and (4) it would be in the public interest to reinstate respondent to the practice of law (see Rules for Atty Disciplinary Matters [22 NYCRR] § 1240.16 [a]), it is
ORDERED that respondent's motion for reinstatement is granted; and it is further
ORDERED that respondent is reinstated as an attorney and counselor-at-law, effective immediately.
Egan Jr., J.P., Lynch, Reynolds Fitzgerald, Ceresia and Mackey, JJ., concur.








